                      Case 18-03438                Doc       Filed 03/06/23               Entered 03/06/23 09:14:13                 Desc Main
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    Fill in this information to identify the case:
    Debtor 1
                    David Rivera
    Debtor 2
                    Maribel Rivera
    (Spouse, if filing)
    United States Bankruptcy Court for the: Northern District of Illinois___________
                                                                             (State)
    Case number 18-03438


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National Association, as                             Court claim no. (if known): 1-1
Trustee of Dwelling Series IV Trust
                                                                                       Date of payment change:                     April 1, 2023
                                                                                       Must be at least 21 days after date
Last four digits of any number you use                   0319                          of this notice
to identify the debtor's account:



                                                                                       New total payment:                          $1613.10
                                                                                       Principal, interest, and escrow, if any



    Part 1:          Escrow Account Payment Adjustment
1.       Will there be a change in the debtor's escrow account payment?
      No
      Yes.              Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                          the basis for the change. If a statement is not attached, explain why: ___________________________________________
                          __________________________________________________________________________________________________

                          Current escrow payment:       $552.40                              New escrow payment:         $566.38





Part 2:              Mortgage Payment Adjustment
    2.Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
      debtor's variable-rate note?
      No
      Yes.              Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                          attached, explain why:
                          ___________________________________________________________________________________________________
                          Current Interest Rate:                                             New interest rate:
                          Current principal and interest payment:                               New principal and interest payment:
Part 3:              Other Payment Change
    3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      No
           Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                          (Court approval may be required before the payment change can take effect)

                          Reason for change:

                          Current mortgage payment:                                              New mortgage payment:




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Debtor 1     David Rivera                                                               Case Number (if known)       18-03438
             First Name                Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
  I am the creditor.           
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Michelle Ghidotti as "Authorized Representative of Creditor"                                     Date 03/06/2023
     Signature

 Print:                   Michelle Ghidotti as "Authorized Representative of Creditor"___________                Title   Bankruptcy Attorney
                          First name         Middle Name   Last name

 Company                  GHIDOTTI | BERGER LLP

 Address                  1920 Old Tustin Avenue
                          Number                Street

                          Santa Ana, CA 92705
                          City                  State      Zip Code

 Contact phone            (949) 427-2010                   Email:      bknotifications@ghidottiberger.com




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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               DAVID RIVERA
               29W315 BROWN ST
               WEST CHICAGO IL 60185



Analysis Date: February 07, 2023
Property Address: 29 WEST 315 BROWN STREET WEST CHICAGO, IL 60185
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Apr 2022 to Mar 2023. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Apr 01, 2023:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 1,046.72               1,046.72                   Due Date:                                       Mar 01, 2023
 Escrow Payment:                             552.40                 566.38                   Escrow Balance:                                    3,579.82
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                          552.40
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                      0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                       $4,132.22
  Total Payment:                            $1,599.12                  $1,613.10


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                    Starting Balance         2,614.75            2,729.25
      Apr 2022            552.40       521.20                                *                               3,167.15            3,250.45
      May 2022            552.40     1,042.40                                *                               3,719.55            4,292.85
      May 2022                                                      2,722.28 *      County Tax               3,719.55            1,570.57
      Jun 2022            552.40       552.40         2,708.39               *      County Tax               1,563.56            2,122.97
      Jul 2022            552.40     1,104.80                                *                               2,115.96            3,227.77
      Aug 2022            552.40       552.40                                                                2,668.36            3,780.17
      Aug 2022                                                      2,722.28 *      County Tax               2,668.36            1,057.89
      Sep 2022            552.40     1,104.80         2,668.36               *      County Tax                 552.40            2,162.69
      Oct 2022            552.40       552.40                                                                1,104.80            2,715.09
      Nov 2022            552.40     1,104.80                                   *                            1,657.20            3,819.89
      Dec 2022            552.40       552.40                                                                2,209.60            4,372.29
      Dec 2022                           7.13                                *      Escrow Only Payment      2,209.60            4,379.42
      Jan 2023            552.40     1,104.80         1,252.00      1,352.00 *      Homeowners Policy        1,510.00            4,132.22
      Feb 2023            552.40      (552.40)                               *                               2,062.40            3,579.82
      Mar 2023            552.40                                             *                               2,614.80            3,579.82
                                                                                    Anticipated Transactions 2,614.80            3,579.82
      Mar 2023                     552.40                                                                                        4,132.22
                      $6,628.80 $8,199.53           $6,628.75      $6,796.56

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.


                                                                                                                                            Page 1
Last year,Case     18-03438
           we anticipated          Doc from
                           that payments   Filed
                                              your03/06/23
                                                    account wouldEntered    03/06/23
                                                                  be made during          09:14:13
                                                                                  this period            Desc Main
                                                                                               equaling 6,628.75. Under
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Federal law, your lowest monthly balance should not have exceeded 1,104.79 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue. Your actual lowest monthly balance was greater than 552.40. The items with an asterisk on your
Account History may explain this. If you want a further explanation, please call our toll-free number.




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Borrower: DAVID RIVERA
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             4,132.22        2,612.66
      Apr 2023              566.38                                                                         4,698.60        3,179.04
      May 2023              566.38                                                                         5,264.98        3,745.42
      Jun 2023              566.38        2,722.28            County Tax                                   3,109.08        1,589.52
      Jul 2023              566.38                                                                         3,675.46        2,155.90
      Aug 2023              566.38                                                                         4,241.84        2,722.28
      Sep 2023              566.38        2,722.28            County Tax                                   2,085.94          566.38
      Oct 2023              566.38                                                                         2,652.32        1,132.76
      Nov 2023              566.38                                                                         3,218.70        1,699.14
      Dec 2023              566.38                                                                         3,785.08        2,265.52
      Jan 2024              566.38        1,352.00            Homeowners Policy                            2,999.46        1,479.90
      Feb 2024              566.38                                                                         3,565.84        2,046.28
      Mar 2024              566.38                                                                         4,132.22        2,612.66
                         $6,796.56       $6,796.56

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 566.38. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 1,132.76 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 4,132.22. Your starting
      balance (escrow balance required) according to this analysis should be $2,612.66. This means you have a surplus of 1,519.56.
      This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
      it and lowering your monthly payments accordingly. We are sending you a check for the surplus.

      We anticipate the total of your coming year bills to be 6,796.56. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Borrower: DAVID RIVERA

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                      566.38
      Surplus Amount:                                  0.00
      Shortage Amount:                                 0.00
      Rounding Adjustment Amount:                      0.00
      Escrow Payment:                               $566.38




     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
     history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
     Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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                                 CERTIFICATE OF SERVICE
       On March 6, 2023, I served the foregoing document described as Notice of Mortgage
Payment Change on the following individuals. By electronic means through the Court’s ECF
program:
       COUNSEL FOR DEBTORS: Chad M. Hayward jean@haywardlawoffices.com

By depositing true copies thereof in the United States mail at Santa Ana, California enclosed in a
sealed envelope, with postage paid, addressed as follows:


       DEBTORS:
       David Rivera
       Maribel Rivera
       29W315 Brown St.
       West Chicago, IL 60185


       CHPATER 13 TRUSTEE:
       Glenn B Stearns
       801 Warrenville Road Suite 650
       Lisle, IL 60532


       US TRUSTEE:
       Patrick S Layng
       Office of the U.S. Trustee, Region 11
       219 S Dearborn St
       Room 873
       Chicago, IL 60604


       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                     /s/_Kaitlyn May____________________
